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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

 INMAR, INC. and COLLECTIVE BIAS, INC.,

                                    Plaintiffs,                     Case No: 18-cv-2306

               v.                                                  Judge Charles R. Norgle

 MONICA MURPHY VARGAS and MLW
 SQUARED, INC., d/b/a AHALOGY,

                                    Defendants.


UNOPPOSED MOTION OF DEFENDANTS MONICA MURPHY VARGAS AND MLW
  SQUARED, INC. FOR LEAVE TO FILE AN OVERSIZED COMBINED BRIEF

       Defendants Monica Murphy Vargas (“Monica”) and MLW Squared, Inc., d/b/a Ahalogy

(“Ahalogy”) (collectively “Defendants”) respectfully move, unopposed, for leave to file a

combined Memorandum of Law in Support of Their Motion to Dismiss in excess of the page

limitation. In support of this motion, Defendants state as follows:

       1.           Monica’s and Ahalogy’s motions to dismiss are due on May 24, 2018. See ECF

Nos. 10, 20.

       2.           Monica’s and Ahalogy’s may each file a memorandum in support of their

respective motions to dismiss fifteen (15) pages in length. Local Rule 7.1.

       3.           In the interest of judicial efficiency, Defendants have been preparing a combined

Motion to Dismiss and Memorandum in Support of Their Motion to Dismiss to prevent repetitive

briefing.

       4.           Accordingly, Defendants seek to file an additional six (6) pages, totaling twenty-

one (21) pages, for their combined Memorandum in Support of Their Motion to Dismiss. A copy

of the proposed combined brief is attached as Exhibit A.
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         5.    The relief sought by Defendants will not delay these proceedings or prejudice

Plaintiffs, but instead allow for a more efficient and coherent presentation of each Defendant’s

responsive pleading.

         6.    Defendants have sought Plaintiffs’ counsel’s consent to the relief sought herein,

and Plaintiffs’ counsel does not object.

         WHEREFORE, for the foregoing reasons, Defendants respectfully request leave to file

their proposed combined memorandum, in excess of the fifteen-page limitation of Local Rule 7.1.

 Dated: May 23, 2018                               Respectfully submitted,

                                                   MLW SQUARED, INC., d/b/a AHALOGY

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                                                   -and-

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